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                       IN THE UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF OHIO
                                 WESTERN DIVISION

ERIC DETERS                                      :          CASE NO. 1:20CV362
                                                 :
       Plaintiff                                 :          (Judge Douglas R. Cole)
                                                 :          (Magistrate Bowman)
vs.                                              :
                                                 :          DEFENDANTS' REPLY IN
MATTHEW HAMMER, ET AL                            :          SUPPORT OF MOTION
                                                 :          FOR SUMMARY JUDGMENT
       Defendants                                :
                                      ::::::::::::::::::::::

       Now come defendants Matthew Hammer (hereinafter "Hammer") and McKenzie and

Snyder, LLP, by and through counsel, and for reply in support of their motion for summary

judgment offer the following memorandum.

                                           MEMORANDUM

       Initially, defendants note that the plaintiff does not dispute the statement of facts provided

by defendants in their motion for summary judgment. Plaintiff argues, however, that an absolute

privilege does not apply. Plaintiff disputes, in essence, that defendant Matt Hammer, an attorney

"governed by another state's bar", can defeat legal recourse by the plaintiff who claims to be a

victim of a statement known to be "void ab initio".

       Defendants contend that they are clothed with absolute immunity under Ohio law as set

forth in Surace v Wuliger (1986), 25 Ohio St.3d 229, 25 OBR 288, 495 N.E.2d 939, the syllabus

of which reads:

       "As a matter of public policy, under the doctrine of absolute privilege in a judicial
       proceeding, a claim alleging that a defamatory statement was made in a written
       pleading does not state a cause of action where the alleged defamatory statement
       bears some reasonable relation to the judicial proceeding in which it appears."




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        In the case at bar plaintiff alleges that defendants made defamatory statements about him

in a proceeding to consider his application to be reinstated to the Kentucky Bar. Examining each

of the alleged defamatory statements shows that every one pertains to the plaintiff's fitness to

practice law and each bears some reasonable relation to the Bar proceeding where the issue of

whether plaintiff should be reinstated is at issue.

        If plaintiff or someone at his direction signed defendant Hammer's name to an affidavit

without authorization, such conduct clearly bears upon the trustworthiness of the plaintiff.

Likewise, statements by defendant concerning plaintiff's manner and mode of practice when he

was a trial attorney in the Durrani litigation touch upon his fitness for reinstatement. Seeking

more clients when he could not manage the ones he had is a commentary that touches on plaintiff's

ability to effectively advocate for his clients. Likewise, if plaintiff was filing documents with a

court in Hammer's name without Hammer having seen them, such conduct would be unethical at

the least.

        Comments about the merits of an untried case and whether plaintiff's approach was in the

best interests of his client are obviously opinions, not statements of fact. Defendant's statements

clearly do bear a reasonable connection to whether plaintiff should be readmitted to the Kentucky

Bar. In summary, the statements of defendant that are factual as well as those that are opinions do

have a reasonable relationship to the issue of plaintiff's fitness to practice law.

        Plaintiff also argues that, theoretically, a person could make a statement with malice and

with impunity if the protection of absolute privilege is nevertheless afforded. However, that is the

inherent nature of absolute immunity.

        While the privilege historically was raised to defeat defamation claims, it has been

broadened in most states to include multiple tort claims. See Nationstar Mtge., L.L.C. v. Ritter,



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10th Dist. Franklin Nos. 14AP-1000 and 14AP-1002, 2015-Ohio-3900, ¶ 15 (privilege applied to

claims of fraud, slander, and intentional inflection of emotional distress). The 11th Circuit has

stated that "'[a]bsolute immunity must be afforded to any act occurring during the course of a

judicial proceeding, regardless of whether the act involves a defamatory statement or other tortious

behavior * * * so long as the act has some relation to the proceeding.'" Jackson v. BellSouth

Telecommunications, 372 F.3d 1250, 1274 (11th Cir. 2004), quoting Levin, Middlebrooks, Mabie,

Thomas, Mayes & Mitchell, P.A. v. United States Fire Ins. Co., 636 So.2d 606, 608 (Fla. 1994).

This is consistent with Ohio law, which provides that litigation privilege operates to protect both

actions and statements made in the course of a judicial proceeding that "bears some reasonable

relation to the judicial proceeding in which it appears." See Surace at 233; Mootispaw v. Kiger,

12th Dist. Fayette Case No. CA96-11-025, 1997 Ohio App. LEXIS 1461, @ *3 (Apr. 14, 1997)

("There is an absolute privilege or immunity for statements made in a judicial proceeding that

extends to every step in the proceeding, from beginning to end.") Other Ohio courts have expanded

the litigation privilege to apply to statements made in quasi-judicial proceedings and to testimony

provided during disciplinary hearings of the bar. Savoy v. Univ. of Akron, 10th Dist. Franklin No.

13AP-696, 2014-Ohio-3043, ¶ 20-21, (student judicial proceedings).

       Statements made to a bar association in connection with an attorney disciplinary

proceeding are also protected. "A statement made in the course of an attorney disciplinary

proceeding enjoys an absolute privilege against a civil action based thereon as long as the statement

bears some reasonable relation to the proceeding.”      Hecht v. Levin (1993), 66 Ohio St.3d 458,

613 N.E.2d 585, paragraph two of the syllabus.       This privilege includes defamation actions and

“is applicable even though the statement may have been made with actual malice, in bad faith and

with knowledge of its falsity.” Young v. Jones (1997), 122 Ohio App.3d 539, 543, 702 N.E.2d



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445, 447-448, following Bigelow v. Brumley (1941), 138 Ohio St. 574, 21 O.O. 471, 37 N.E.2d

584. “A complaint filed with the grievance committee of a local bar association is part of a judicial

proceeding.” Hecht, paragraph one of the syllabus. The reason why absolute immunity is given

to statements made in judicial proceedings is to “assure that all participants in a judicial proceeding

feel free to testify, question and act.” Elling v. Graves (1994), 94 Ohio App.3d 382, 386, 640

N.E.2d 1156, 1159. “Ohio courts have long recognized that freedom of speech is essential in a

judicial proceeding in order to ascertain the truth and to achieve justice.” Id.

       Defendants point out that it has been recognized by courts that absolute immunity under

these circumstances bears some risk that the object of a malicious statement will be left without a

remedy. "Although the result may be harsh in some instances and a party to a lawsuit may possibly

be harmed without legal recourse, on balance, a liberal rule of absolute immunity is the better

policy, as it prevents endless lawsuits because of alleged defamatory statements in prior

proceedings." Surace at 234. However, the Ohio Supreme Court has determined that such a risk

is not outweighed by the need to encourage those with information about the subject of a judicial

proceeding to come forth with their information without fear that they will be subject to litigation.

       Consequently, the plaintiff is in error in arguing that these defendants may not claim the

benefit of the privilege because of supposed bad faith or malice.

       According to the defendant Hammer's affidavit, the statements he gave and which are the

subject matter of the plaintiff's complaint not only were given to an agent of the Kentucky Bar

Association but also at the request of disciplinary counsel for the Ohio State Bar Association, thus

fulfilling his obligation to the Ohio Bar to cooperate. Manifestly, defendant's statements were

made in connection with a quasi-judicial proceeding and are therefore within the scope of absolute

immunity.



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       In conclusion, defendants respectfully submit that the plaintiff's complaint does not state

an actionable claim for relief against either defendant, and each of them request summary judgment

in their favor dismissing the complaint with prejudice at the costs of the plaintiff.

                                               Respectfully submitted,

                                               JACK C. McGOWAN, LLC

                                               /s/ Jack C. McGowan
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                                 CERTIFICATE OF SERVICE

      I hereby certify that a true copy of the foregoing has been served upon Eric Deters, 5247
Madison Pike, Independence, KY 41051 by ordinary U.S. mail this 23rd day of November, 2020.


                                               /s/ Jack C. McGowan
                                               Jack C. McGowan




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